                           Case 20-22980-AJC        Doc 26     Filed 02/02/21     Page 1 of 2




           ORDERED in the Southern District of Florida on February 1, 2021.



                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________
                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA


          In re:                                                 Case No.: 20-22980-AJC
                                                                 Chapter 13
                   Julio C Chirino

                              Debtor(s)       /

          ORDER SUSTAINING OBJECTION TO CLAIM OF INTERNAL REVENUE SERVICE

                 THIS MATTER having come to be heard without objection on the consent calendar on
          January 26, 2021 at 9:00 AM upon Debtor’s Objection to Claim of Internal Revenue Service
          (ECF#15; claim #2-1) and based on the record, IT IS;

                   ORDERED AND ADJUDGED:

              1.      The objection to the proof of claim of Internal Revenue Service is SUSTAINED.

              2.      The liability for the 2019 taxes is reduced to $429.00 as a priority unsecured claim and
                      the remainder is stricken and disallowed.

              3.      Thus, the total claim shall be allowed for $1,888.68 with a priority portion for the claim
                      at $781.93.

                                                            ###
          The Law Office of Robert Sanchez, P.A., is hereby directed to mail a conformed copy of this order
          to all affected parties and file a certificate of service.


          Respectfully Submitted:
          Robert Sanchez, P.A.
          LF-70 (rev. 12/01/09)
                 Case 20-22980-AJC   Doc 26   Filed 02/02/21   Page 2 of 2


355 West 49th Street
Hialeah, FL 33012
Fl. Bar No. 0442161
Telephone: (305) 687-8008
E-Mail: court@bankruptcyclinic.com




LF-70 (rev. 12/01/09)
